          Case 3:22-cv-00990-JD Document 247 Filed 06/07/24 Page 1 of 6



 1   MCGUIREWOODS LLP                                 WINSTON & STRAWN LLP
     Alicia A. Baiardo (SBN: 254228)                  Amanda L. Groves (SBN 187216)
 2   abaiardo@mcguirewoods.com                        agroves@winston.com
     Two Embarcadero Center, Suite 1300               333 S. Grand Ave.
 3   San Francisco, CA 94111-3821                     Los Angeles, CA 90071-1543
     Telephone: 415-844-944                           Telephone: 213-615-1700
 4   Facsimile: 415-844-9922                          Facsimile: 213-615-1750
 5   MCGUIREWOODS LLP                                 WINSTON & STRAWN LLP
     Ava E. Lias-Booker (Admitted pro hac vice)       Kobi K. Brinson (Admitted pro hac vice)
 6   alias-booker@mcguirewoods.com                    kbrinson@winston.com
     500 East Pratt Street, Suite 1000                300 South Tryon Street
 7   Baltimore, MD 21202-3169                         Charlotte, NC 28202
     Telephone: 410-659-4430                          Telephone: 704-350-7700
 8   Facsimile: 410-659-4558                          Facsimile: 704-350-7800
 9   WILMER CUTLER PICKERING
     HALE AND DORR LLP
10   Seth P. Waxman (Admitted pro hac vice)
     seth.waxman@wilmerhale.com
11   2100 Pennsylvania Avenue NW
     Washington DC 20037
12   Telephone: 202-663-6000
     Facsimile: 202-663-6363
13
     WILMER CUTLER PICKERING
14   HALE AND DORR LLP
     Alan Schoenfeld (Admitted pro hac vice)
15   alan.schoenfeld@wilmerhale.com
     7 World Trade Center
16   250 Greenwich Street
     New York, New York 10007
17   Telephone: 212-230-8800
     Facsimile: 212-230-8888
18
     Attorneys for Defendant Wells Fargo Bank, N.A.
19
                                UNITED STATES DISTRICT COURT
20
                             NORTHERN DISTRICT OF CALIFORNIA
21

22                                                Case No. 3:22-CV-00990-JD
     In re Wells Fargo Mortgage Discrimination
23   Litigation                                   Hon. James Donato
24                                                WELLS FARGO BANK, N.A.’S
25                                                ADMINISTRATIVE MOTION
                                                  REQUESTING LEAVE TO FILE
26                                                SUMMARY JUDGMENT BRIEF IN
                                                  EXCESS OF APPLICABLE PAGE LIMIT
27

28

       WELLS FARGO BANK, N.A.’S ADMINISTRATIVE MOTION REQUESTING LEAVE TO FILE SUMMARY
                      JUDGMENT BRIEF IN EXCESS OF APPLICABLE PAGE LIMIT
                                      CASE NO. 3:22-cv-00990-JD
             Case 3:22-cv-00990-JD Document 247 Filed 06/07/24 Page 2 of 6



 1            Pursuant to Civil Local Rule 7-11, Defendant Wells Fargo Bank, N.A. (“Wells Fargo”)
 2   respectfully asks this Court for an order enlarging the 25-page limit for summary judgment motions
 3   under the Standing Order For Civil Cases Before Judge James Donato and granting Wells Fargo a 30-
 4   page limit for its opening brief on summary judgment. Wells Fargo does not seek additional pages in
 5   connection with its summary judgment reply brief. As set forth more fully below, given the number
 6   of Named Plaintiffs, causes of actions, and claims to be addressed on summary judgment, Wells Fargo
 7   seeks an additional 5-pages of briefing to adequately address its arguments. Plaintiffs do not oppose
 8   Wells Fargo’s request for relief so long as they also receive 30-pages for their opposition brief.
 9      I.       RELEVANT BACKGROUND
10            As this Court is aware, on March 24, 2023, Plaintiffs Aaron Braxton, Paul Martin, Gia Gray,
11   Bryan Brown, Elretha Perkins, Christopher Williams, Ifeoma Ebo and Terah-Kuykendall-Montoya,
12   individually and as representatives of a proposed class, filed a 54-page Amended and Consolidated
13   Complaint (“Complaint”). Dkt. No. 114. Plaintiffs set forth five causes of action: violation of the
14   Equal Credit Opportunity Act, the Fair Housing Act, 42 U.S.C. § 1981, the California Unruh Civil
15   Rights Act, and the California Unfair Competition Law. Id. Likewise, Plaintiffs purport to advance
16   these claims on both disparate impact and disparate treatment theories. Id. The parties have engaged
17   in extensive fact and expert discovery in the matter, including significant written discovery,
18   voluminous production of documents, conducted more than 40 depositions, and identified numerous
19   affirmative and rebuttal expert witnesses. Declaration of A. Baiardo, ¶ 3.
20             On November 17, 2023, this Court entered an Amended Scheduling Order setting a
21   dispositive motion deadline of July 25, 2024. Dkt. No. 166. Wells Fargo intends to file a motion for
22   summary judgment in compliance with said deadline.
23      II.      GOOD CAUSE EXISTS TO GRANT WELLS FARGO LEAVE TO FILE
24               SUMMARY JUDGMENT BRIEF OF 30 PAGES.
25            Pursuant to Civil Local Rule 7-11(a), Wells Fargo respectfully asks this Court enlarge the
26   applicable page limitation, to 30-pages, so that it can adequately address its arguments on summary
27   judgment. As the local rules make clear,
28
                                                  1
       WELLS FARGO BANK, N.A.’S ADMINISTRATIVE MOTION REQUESTING LEAVE TO FILE SUMMARY
                      JUDGMENT BRIEF IN EXCESS OF APPLICABLE PAGE LIMIT
                                      CASE NO. 3:22-cv-00990-JD
           Case 3:22-cv-00990-JD Document 247 Filed 06/07/24 Page 3 of 6


            The Court recognizes that during the course of case proceedings a party may require
 1
            a Court order with respect to miscellaneous administrative matters, not otherwise
 2          governed by a federal statute, Federal Rule, local rule, or standing order of the
            assigned Judge. These motions would include matters such as motions to exceed
 3          otherwise applicable page limitations…
 4   As applicable here, the Standing Order For Civil Cases Before Judge James Donato states that “[f]or
 5   summary judgment and class certification motions, opening and opposition briefs may not exceed 25
 6   pages, and reply briefs may not exceed 15 pages.” ¶ 18. In order to deviate from the foregoing, a
 7   party must demonstrate “good cause” for the relief sought. Elec. Frontier Found. v. C.I.A., No. C 09-
 8   03351 SBA, 2012 WL 1123529, at *1 (N.D. Cal. Apr. 3, 2012). The focus of the good cause inquiry
 9   is “on the moving party's reasons for seeking modification.” In re Cathode Ray Tube (CRT) Antitrust
10   Litig., No. C-07-5944-SC, 2014 WL 4954634, at *2 (N.D. Cal. Oct. 1, 2014). Here, there is good
11   cause to grant such relief.
12          Given the number of Named Plaintiffs, causes of actions, and claims to be addressed on
13   summary judgment, 5-additional pages for Wells Fargo’s briefing is appropriate. Indeed, the
14   Complaint includes eight proposed class representatives whose loan applications present very different
15   factual scenarios, with different Plaintiffs’ loan applications denied for different documented,
16   legitimate, and non-discriminatory reasons. Each Named Plaintiff’s individualized claims will need
17   to be adequately addressed in Wells Fargo’s motion for summary judgment. Likewise, Plaintiffs have
18   asserted five distinct causes of action under differing theories, requiring targeted briefing as to each
19   issue. Baiardo Decl., ¶ 2. The extensive fact and expert discovery in the matter and exhaustive record
20   serves to highlight the breadth and complexity of the issues to be addressed on summary judgment.
21   Id. ¶ 3. While Wells Fargo will ensure that its briefing is focused, succinct and clear, and that it
22   provides with its motion only the materials necessary and helpful to the Court in resolving the motion,
23   given the scope of issues, additional pages are necessary and good cause is shown.
24          This Court regularly grants similar motions to enlarge applicable page limitations for briefing.
25   Stiner v. Brookdale Senior Living, Inc., No. 17-CV-03962-HSG, 2024 WL 1071202, at *1 (N.D. Cal.
26   Feb. 7, 2024)(granting administrative motion to enlarge page limits); Freelancer Int'l Pty Ltd. v.
27   Upwork Glob., Inc., No. 20-CV-06132-SI, 2020 WL 6929088, at *1 (N.D. Cal. Sept. 9, 2020)(granting
28
                                                   2
        WELLS FARGO BANK, N.A.’S ADMINISTRATIVE MOTION REQUESTING LEAVE TO FILE SUMMARY
                       JUDGMENT BRIEF IN EXCESS OF APPLICABLE PAGE LIMIT
                                       CASE NO. 3:22-cv-00990-JD
           Case 3:22-cv-00990-JD Document 247 Filed 06/07/24 Page 4 of 6



 1   additional pages over the 25-page limit); Casa Nido Partnership v. Kwon, No. 20-cv-07923-EMC,
 2   2024 WL 628438, at *2 (N.D. Cal. Feb. 14, 2024) (granting party 5 extra pages in its second summary
 3   judgment motion); Utah v. Google LLC, No. 3:21-cv-5227, Dkt. 526 (N.D. Cal. Jan. 2, 2024) (granting
 4   unopposed motion for excess pages); In re Facebook Biometric Priv. Litig., No. 3:14-cv-3747, Dkt.
 5   498 (N.D. Cal. Oct. 15, 2020) (granting unopposed motion for leave to file excess pages).
 6             For these reasons, this Court should permit Wells Fargo to file a 30-page opening brief in
 7   connection with its anticipated motion for summary judgment.
 8      III.      STATEMENT REGARDING STIPULATION
 9             As set forth in the attached Declaration of Alicia A. Baiardo, pursuant to Civil Local Rule 7-
10   11, Wells Fargo’s counsel conferred with counsel for Plaintiffs Dalmacio V. Posadas, Jr. via email on
11   June 5, 2024. Baiardo Decl., ¶ 6. Plaintiffs do not oppose Wells Fargo’s request for an opening
12   summary judgment brief of 30 pages, provided they are also given a corresponding 30 pages. Id. ¶ 7.
13      IV.       CONCLUSION
14             Wells Fargo respectfully requests this Court grant Wells Fargo an order enlarging the 25-page
15   limit under the Standing Order For Civil Cases Before Judge James Donato and grant Wells Fargo a
16   30-page limit for opening summary judgment brief.
17

18

19

20

21

22

23

24

25

26

27

28
                                                  3
       WELLS FARGO BANK, N.A.’S ADMINISTRATIVE MOTION REQUESTING LEAVE TO FILE SUMMARY
                      JUDGMENT BRIEF IN EXCESS OF APPLICABLE PAGE LIMIT
                                      CASE NO. 3:22-cv-00990-JD
         Case 3:22-cv-00990-JD Document 247 Filed 06/07/24 Page 5 of 6



 1   Dated: June 7, 2024                 MCGUIREWOODS LLP

 2

 3                                       By:/s/ Alicia A. Baiardo
                                             Alicia A. Baiardo
 4                                           Ava E. Lias-Booker

 5
                                         WINSTON & STRAWN LLP
 6

 7
                                         By:/s/ Amanda L. Groves
 8                                           Amanda L. Groves
                                             Kobi K. Brinson
 9

10                                       WILMER CUTLER PICKERING HALE AND
                                         DORR LLP
11

12
                                         By:/s/ Seth P. Waxman
13                                           Alan Schoenfeld
                                             Seth P. Waxman
14
                                             Attorneys for Defendant Wells Fargo Bank, N.A.
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                 4
      WELLS FARGO BANK, N.A.’S ADMINISTRATIVE MOTION REQUESTING LEAVE TO FILE SUMMARY
                     JUDGMENT BRIEF IN EXCESS OF APPLICABLE PAGE LIMIT
                                     CASE NO. 3:22-cv-00990-JD
           Case 3:22-cv-00990-JD Document 247 Filed 06/07/24 Page 6 of 6


                                       CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on June 7, 2024, I electronically filed the foregoing document entitled
 3   DEFENDANT WELLS FARGO BANK, N.A.’S ADMINISTRATIVE REQUESTING LEAVE
 4   TO FILE SUMMARY JUDGMENT BRIEF IN EXCESS OF APPLICABLE PAGE LIMIT
 5   with the Clerk of the Court for the United States District Court, Northern District of California using
 6   the CM/ECF system and served a copy of same upon all counsel of record via the Court’s electronic
 7   filing system.
 8   Dated: June 7, 2024                                  By: /s/ Alicia A. Baiardo_______
                                                                  Alicia A. Baiardo
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  5
       WELLS FARGO BANK, N.A.’S ADMINISTRATIVE MOTION REQUESTING LEAVE TO FILE SUMMARY
                      JUDGMENT BRIEF IN EXCESS OF APPLICABLE PAGE LIMIT
                                      CASE NO. 3:22-cv-00990-JD
